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UNITED States DistrRicT COURT
MIDDLE DISTRICT OF FLORIDA
ORLANDO DIVISION

UNITED STATES OF AMERICA

VS. CASE NO: 6:16-mj-1243

GARY HIRST

ORDER APPOINTING
FEDERAL PUBLIC DEFENDER

Because the above named defendant has testified under oath or has otherwise satisfied this
Court that he: (1) is unable to employ counsel. and (2) does not wish to waive counsel. and because
the interests of justice so require, it is

ORDERED that the Federal Public Defender is appointed on a provisional basis to represent
the above named defendant in this case. The defendant may be required to contribute to the cost
of this representation depending on circumstances to be determined at a later date.

DONE and ORDERED in Orlando Florida on May 11. 2016.

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DAVID A. BAKER
UNITED STATES MAGISTRATE JUDGE

Copies furnished to:

United States Attorney
Counsel of Record

